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AO 441   Summons in a Civil Action



                                     United States District Court
                                       SOUTHERN DISTRICT OF CALIFORNIA

    MONSTER ENERGY COMPANY, a Delaware
    Corporation


                                                                    Civil Action No.      22CV590-LL-JLB
                                                     Plaintiff
                              V.
    JIANGSU SITOUGUAI INDUSTRY CO., LTD., a
    Chinese Corporation, and CHANGZHOU HAIGE
    MICROFIBER TEXTILE CO., LTD., a Chinese
    Corporation

                                                   Defendant

                                              SUMMONS IN A CIVIL ACTION
    To: (Defendant's name and address)




            A lawsuit has been filed against you.
            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
    if you are the United States or a United States agency, or an office or employee of the United States described
    in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
    motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
    plaintiff or plaintiff's attorney, whose name and address are:

              Matthew S. Bellinger
              2040 Main Street, Fourteenth Floor
              Irvine, CA 92614
              (949) 760-0404

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the
    complaint. You also must file your answer or motion with the court.

    Date:               4/27/22                                  John Morrill
                                                                 CLERK OF COURT
                                                                 S/           C. Thepkaysone
                                                                           Signature of Clerk or Deputy Clerk
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                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

              This summons for (name of individual and title, if any) _______________________________________
    was received by me on (date) ___________________________.
              I personally served the summons on the individual at (place) __________________________________
              ___________________________________________________ on (date) _________________; or
              I left the summons at the individual's residence or place of abode with (name) ____________________
              _________________________________, a person of suitable age and discretion who resides there,
              on (date) ___________________, and mailed a copy to the individual's last known address; or
              I served the summons on (name of the individual) ___________________________________, who is
              designated by law to accept service of process on behalf of (name of organization) ________________
              ______________________________________________________ on (date) ____________; or
              I returned the summons unexecuted because ____________________________________________; or
              Other (specify):


              My fees are $ ____________ for travel and $ ____________ for services, for a total of $ ___________.
              I declare under penalty of perjury that this information is true.

    Date:
                                                                                   Server's Signature


                                                                                  Printed name and title


                                                                                    Server's address

                 NOTICE OF RIGHT TO CONSENT TO TRIAL BY A UNITED STATES MAGISTRATE JUDGE
    IN ACCORDANCE WITH THE PROVISION OF 28 USC 636(C) YOU ARE HEREBY NOTIFIED THAT A U.S.
    MAGISTRATE JUDGE OF THIS DISTRICT MAY, UPON CONSENT OF ALL PARTIES, CONDUCT ANY OR
    ALL PROCEEDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
    JUDGMENT.

    YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT CONSENT IS ENTIRELY
    VOLUNTARY AND SHOULD BE COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
    PARTIES CONSENT WILL THE JUDGE OR MAGISTRATE JUDGE WHOM THE CASE HAS BEEN ASSIGNED
    BE INFORMED OF YOUR DECISION.

    JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO THE U.S. COURT OF APPEALS IN
    ACCORDANCE WITH THIS STATUTE AND THE FEDERAL RULES OF APPELLATE PROCEDURE.
